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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 `jz §§ lE nga L¢ 59

WESTERN DIVISION

 

UNITE]) S'I`ATES OF AMERICA
vs. CR. NO. 01 -20085-04-D

LARRY TRULOVE

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ORDER HOLDING DEFENDANT FOR REVOCATION HEARING

 

On June 16, 2005 , the defendant appeared before me on a charge of violation of the terms
and conditions of his probation/supervised release in this matter. The defendant vvas or had been
previously advised of his/her rights under FRCrP 5 and 32.l(a)(1) and appeared With counsel,
Michae] Scholl who had been appointed

At this hearing, the Court, after hearing proof, concluded that probable cause Was established
that the defendant had violated the terms and conditions of his/her probation/supervised release.

Accordingly, defendant is held to a final revocation hearing before Judge Bernice B. Donald.
lt is presumed that the United States District Court Will set this matter for a revocation hearing
pursuant to FRCrP 32.1(a)(2), and Will see that appropriate notices are given.

The defendant is remanded to the custody of the United States Marshal.

IT IS SO ORDERED this [é day of YM , 2005.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 392 in
case 2:0]-CR-20085 Was distributed by faX, mail, or direct printing on
June 17, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

